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SCHLATHER, STUMBAR, PARKS & SALK, LLP

RAYMoND M. SCHLATHER A'ITORNEYS AT LAW DIANE V. BRUNs
JAMEs A. SALK 200 EAsT BUFFALO STREET
JEFFREY D. WALKER P.O. Box 353

Associares ITHACA, NEW YORK 14851 L. RIcHARn sruMBAR, 0F cOUNSEL
ELIZABETH M. ALDRIDGE TELEPHONE (607) 273-2202 MARTIN A. LUsTER, RETIRED
JAcoB P. McNAMARA FACs]MILE (607) 273-4436 (NoT FoR SERVICE oF PROCESS) MICHAEL LoPlNTo (1915-1987)
SUJATA S. GIBsoN www.ithacalaw.com DAer MAKoTo PARKs (1969-2016)

DARIUS K. LIND
MARIA v. FERNANDEZ-GAIGE

October 12, 2018

Hon. Thomas J. McAvoy

Federa| Building and U.S. Courthouse
15 Henry Street

Binghamton, New Yorl< 13901

Re: USA v. Reyno/ds
3:18-mj-00139-TWD

Dear Judge l\/|cAvoy:

P|ease be advised that this firm, together with Attorney Kimberly Zimmer of
Syracuse, New York, represent Maximi|ien Reyno|ds in this case. A change of plea
proceeding is scheduled for November 6, 2018 at 11:30 A.M. in Binghamton.

At the change of plea proceeding, we will be asking the Court to release Mr.
Reyno|ds on bail pending sentencing, subject to strict conditions involving
professionally recommended treatment that Mr. Reyno|ds is not able to receive
under current circumstances. To support the application, we are intending to file a
Notice of Motion, Motion, Memorandum of Law and other supporting materials,
including affidavits, that detail extensive personal and medical information
concerning Mr. Reyno|ds. Therefore, this is to request your Honor’s permission to
file such confidential and private materials under seal.

Of course, we will provide copies of all such materials to AUSA Richard

Southwick and to the United States Department of Probation simultaneously, and
immediately after a sealing order is issued.

RWtful|y yours,

Raymo c| M. chlather

cc: AUSA Richard Southwicl< /‘
Kimberly Zimmer, Esq.

